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   5
       Attorney(s) for Display Technologies, LLC
   6
                        IN THE UNITED STATES DISTRICT COURT
   7
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
   8
       DISPLAY TECHNOLOGIES, LLC, §
   9
                                       §
  10        Plaintiff,                 §             Case No: 2:21-cv-07507-DOC-KES
                                       §
  11
       vs.                             §
  12                                   §
       FORACARE, INC.,                 §
  13
                                       §             NOTICE OF VOLUNTARY
  14        Defendant.                 §             DISMISSAL WITH PREJUDICE
        _______________________________§
  15

  16
             Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this
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       Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil
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       Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
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       by the plaintiff without order of court by filing a notice of dismissal at any time before
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       service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
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       dismisses this action against Defendant Foracare, Inc. with prejudice, pursuant to Rule
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       41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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   1   Dated: November 30, 2021             Respectfully submitted,
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                                            /s/ Stephen M. Lobbin
   3                                        Stephen M. Lobbin
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   8                                        Attorney(s) for Plaintiff Display
                                            Technologies, LLC
   9

  10                            CERTIFICATE OF SERVICE

  11          I hereby certify that on November 30, 2021, I electronically transmitted the
  12   foregoing document using the CM/ECF system for filing, which will transmit the
       document electronically to all registered participants as identified on the Notice of
  13   Electronic Filing, and paper copies have been served on those indicated as non-
  14   registered participants.
                                             /s/ Stephen M. Lobbin
  15                                         Stephen M. Lobbin
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                           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
